Case 2:18-cv-00052-TSK           Document 43    Filed 01/29/19     Page 1 of 3 PageID #: 397



                            IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                         AT ELKINS

FEDERAL INSURANCE COMPANY,

                   Plaintiff,

v.                                                         Civil Action No.: 2:18-CV-52


ALDERSON BROADDUS UNIVERSITY, INC.,
a West Virginia Corporation;
COLLINS MURPHY, as an employee of Alderson Broaddus
and as an individual;
KRISTINE BURNSIDE;
CAYLA RHODES;
ERICA BROOKS;
and EMILY SARVER,

                   Defendants.

                                     DISMISSAL ORDER

         Plaintiff, Federal Insurance Company, by counsel, and Defendants, by counsel, jointly

request that this Court DISMISS this action WITH PREJUDICE.

         WHEREFORE, for the reasons stated herein, the Court hereby DISMISSES this action,

including all claims asserted or that could have been asserted by any of the parties herein, WITH

PREJUDICE. Each party is responsible for their own attorney fees and costs associated with

this action. It is further ORDERED that this action be DISMISSED in its entirety and removed

from the Court’s docket.

DATED: ____________________________



                                            ______________________________________
                                                  The Honorable Thomas Kleeh
                                                  United States District Court Judge




4815-1584-6017.1
Case 2:18-cv-00052-TSK       Document 43         Filed 01/29/19   Page 2 of 3 PageID #: 398




Prepared by:

/s/ Ftemkos J. Yianne
Ftemkos J. Yianne (WV State Bar # 8623)
LEWIS BRISBOIS BISGAARD & SMITH LLP
222 Capitol Street, Fifth Floor
Charleston, West Virginia 25301
304.553.0161 (T) / 304.932.0265 (F)
Tim.Yianne@lewisbrisbois.com
Counsel for Federal Insurance Company


Agreed to by:

/s/ Tiffany R. Durst (w/permission)
Tiffany R. Durst, Esq. (SBID #7441)
Pullin Fowler Flanagan Brown and Poe
2414 Cranberry Square
Morgantown, WV 26508
304.255.2200 – T / 304.255.2214 – F
Counsel for Alderson Broaddus University, Inc.


/s/ Tammy Bowles Raines (w/permission)
Tammy Bowles Raines, Esq. (SBID #9708)
27 Capitol Street, Suite 201
Charleston, WV 25301
tbraineslaw@gmail.com
304.395.5925 – T / 888.695.7453 – F
Counsel for Cayla Rhodes, Kristine Burnside,
Erica Brooks, and Emily Sarver

and

Stephen P. New, Esq. (SBID #7756)
Amanda J. Taylor, Esq. (SBID #11635)
The Law Office of Stephen P. New
P.O. Box 5516
Beckley, WV 25801
steve@newlawoffice.com;
mandy@newlawoffice.com
304.250.6017 – T / 304.250.6012 – F
Co-counsel for Cayla Rhodes, Kristine Burnside,
Erica Brooks, and Emily Sarver


                                                 2
Case 2:18-cv-00052-TSK       Document 43   Filed 01/29/19   Page 3 of 3 PageID #: 399




/s/ Collins Murphy (w/permission)
Collins Murphy
12008 Rocking Horse Rd.
Rockville, MD 20852
301.910.2462 – T
Pro se




                                           3
